                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )       MATTICE/STEGER
                                                 )
         v.                                      )       CASE NO. 1:15-CR-12
                                                 )
 BRIAN KEITH SMART                               )




                               REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on September 22,

 2015. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 Two of the Superseding Indictment, conspiracy to distribute and possess with intent to distribute a

 mixture and substance containing methamphetamine, a Schedule II controlled substance, in

 violation of 21 USC '' 846 and 841(b)(1)(C), in exchange for the undertakings made by the

 government in the written plea agreement. On the basis of the record made at the hearing, I find

 that the defendant is fully capable and competent to enter an informed plea; that the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; that it is made

 voluntarily and free from any force, threats, or promises, apart from the promises in the plea

 agreement; that the defendant understands the nature of the charge and penalties provided by law;

 and that the plea has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count Two of the Indictment be accepted, that the Court adjudicate defendant guilty of the charges

 set forth in the lesser included offense in Count Two of the Indictment, and that the written plea

 agreement be accepted at the time of sentencing. I further recommend that defendant remain in


                                                     1



Case 1:15-cr-00012-TRM-CHS             Document 204      Filed 09/23/15      Page 1 of 2      PageID
                                             #: 712
 custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance

 of the plea agreement, and imposition of sentence are specifically reserved for the district judge.

        The defendant=s sentencing date is scheduled for Monday, March 7, 2016, at 9:00 am.



                                                s/Christopher H. Steger
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




                                                   2


Case 1:15-cr-00012-TRM-CHS            Document 204         Filed 09/23/15      Page 2 of 2      PageID
                                            #: 713
